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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

 IN RE:
 JACQUELYN OWENS                                         Case No. 24-14349-pmm
        Debtor
                                                         Chapter 13
 FREEDOM MORTGAGE CORPORATION
         Movant

 vs.
 JACQUELYN OWENS
      and                                                11 U.S.C. §362 and §1301
 CHESTER FREEMAN (NON-FILING CO-
 DEBTOR)
      Respondents

                                     IMPORTANT NOTICE
 Freedom Mortgage Corporation (Freedom) is firmly committed to helping its borrowers who are
     experiencing a hardship. Depending on the circumstances of your case, Freedom may be
  amenable to consensual resolution of this matter, with Court approval. If you (or, if applicable,
 any co-debtors) have experienced a hardship, please contact us (or have your counsel contact us,
                   if you are represented) promptly to discuss possible options.

    MOTION FOR RELIEF FROM AUTOMATIC STAY UNDER §362 AND §1301 CO-
      DEBTOR STAY PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

        Movant, by its attorneys, Brock and Scott PLLC, hereby requests a termination of Automatic

Stay and Co-Debtor stay and leave to proceed with its state court rights on its mortgage on real

property owned by Jacquelyn Owens (the “Debtor”), and non-filing Co-Debtor, Chester Freeman.

        1.      Movant is Freedom Mortgage Corporation.

        2.      Debtor, Jacquelyn Owens, and non-filing Co-Debtor Chester Freeman are the

owners of the premises located at 635 Keely Court, Philadelphia, Pennsylvania 19128 hereinafter

known as the mortgaged premises.

        3.      Movant is the holder of a mortgage on the mortgaged premises.

        4.      Debtor's failure to tender monthly payments in a manner consistent with the terms of

the Mortgage and Note result in a lack of adequate protection.
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        5.       Movant instituted foreclosure proceedings on the mortgage because of Debtor's failure

to make the monthly payment required hereunder.

        6.       The foreclosure proceedings instituted were stayed by the filing of the instant Chapter

13 Petition.

        7.       The following chart sets forth the number and amount of post-petition payments

due pursuant to the terms of the Note that have been missed as of March 11, 2025:

 Number of              From                   To             Monthly         Total Amounts
  Missed                                                      Payment           Delinquent
 Payments                                                      Amount
    3                01/01/2025           03/01/2025          $2,611.99          $7,835.97
                                              Less partial payments (suspense balance): ($0.00)
                                                                                 Total: $7,835.97


        8.       The amounts listed above may not include any post-petition fees and costs previously

filed with the Court pursuant to Rule 3002.1. The Secured Creditor does not waive it’s right to collect

these amounts.

        9.       A post-petition payment history is attached hereto as Exhibit “A”.

        10.      The next payment is due on or before April 1, 2025 in the amount of $2,611.99. Under

the terms of the Note and Mortgage, Debtor has a continuing obligation to remain current post-petition

and failure to do so results in a lack of adequate protection to Movant.

        11.      Upon information and belief, the payoff amount as of March 11, 2025 is $513,872.21.

        12.      Movant, Freedom Mortgage Corporation requests the Court award reimbursement in

the amount of $1,249.00 for the legal fees and costs associated with this Motion.

        13.      Movant has cause to have the Automatic Stay terminated as to permit Movant to

proceed with its state court rights pursuant to the mortgage contract.

        14.      Movant specifically requests permission from the Honorable Court to communicate
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with and Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

       15.     Movant, it's successors and assignees posits that due to Debtor's continuing failure to

tender post-petition mortgage payments and the resulting and ever increasing lack of adequate

protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(4), and that

Movant, its successors or assignees should be allowed to immediately enforce and implement the

Order granting relief from the automatic stay and co-debtor stay.

       16.     Movant additionally seeks relief from the co-debtor stay under §1301 (c) (if

applicable) in the instant case, as the continuation of the co-debtor stay causes irreparable harm to

the Movant. Movant may be barred from moving forward with its state court rights under the terms

of the mortgage without relief from the co-debtor stay.

       17.     Movant requests that if relief is granted that Federal Rule of Bankruptcy Procedure

3002.1 be waived.

       WHEREFORE, Movant respectfully requests that this Court enter an Order;

       a.      Modifying the Automatic Stay under Section 362 and Co-Debtor Stay under Section

1301 with respect to 635 Keely Court, Philadelphia, Pennsylvania 19128 (as more fully set forth in

the legal description attached to the Mortgage of record granted against the Premises), as to allow

Movant, its successors and assignees, to proceed with its rights under the terms of said Mortgage; and

       b.      That relief from any Co-Debtor Stay (if applicable) is hereby granted; and

       c.      Movant specifically requests permission from this Honorable Court to communicate

with Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy

law; and

       d.      That the Trustee cease making any further distributions to the Creditor; and
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       e.        Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever-increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(4), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

       f.        Awarding Movant attorney fees and costs related to this Motion in the amount of

$1,249.00; and

       g.        Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

       h.        Granting any other relief that this Court deems equitable and just.

Date: March 25, 2025
                                                /s/Andrew Spivack
                                                Andrew Spivack, PA Bar No. 84439
                                                Matthew Fissel, PA Bar No. 314567
                                                Mario Hanyon, PA Bar No. 203993
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